
250 Cal.App.2d 595 (1967)
THE PEOPLE, Plaintiff and Respondent,
v.
HAROLD ALMUS LANGDON, Defendant and Appellant.
Crim. No. 13473. 
California Court of Appeals. Second Dist., Div. Two.  
May 1, 1967.
 Harold Almus Langdon, in pro. per., for Defendant and Appellant.
 No appearance for Plaintiff and Respondent.
 THE COURT.
 [1] Appellant is attempting to appeal from an order of the superior court denying his motion to vacate the judgment. The record shows that the judgment was affirmed by the Supreme Court of California, People v. Langdon, 52 Cal.2d 425 [341 P.2d 303].
 The superior court was without jurisdiction. (Pen. Code,  1265.) The order of the superior court is not appealable, and the record on appeal should not have been prepared.
 The appeal is dismissed. *596
